                              No. 24-40160

        In the United States Court of Appeals
                for the Fifth Circuit
State of Texas; State of Alabama; State of Alaska; State
 of Arkansas; State of Florida; State of Idaho; State of
   Iowa; State of Kansas; Commonwealth of Kentucky;
  State of Louisiana; State of Mississippi; State of Mis-
  souri; State of Montana; State of Nebraska; State of
   Ohio; State of South Carolina; State of Tennessee;
State of Utah; State of West Virginia; State of Wyoming;
                   State of Oklahoma,
                                     Plaintiffs-Appellants,
                            v.
    United States Department of Homeland Security;
   Alejandro Mayorkas, Secretary, U.S. Department of
  Homeland Security; U.S. Citizenship and Immigration
 Services; Ur M. Jaddou, Director of U.S. Citizenship and
Immigration Services; U.S. Customs & Border Protection;
  Troy Miller, Senior Official Performing the Duties of
 the Commissioner, U.S. Customs and Border Protection;
  United States Immigration and Customs Enforcement;
  Tae D. Johnson, Acting Director, U.S. Immigration and
                  Customs Enforcement,
                                     Defendants-Appellees,

Valerie Laveus; Francis Arauz; Paul Zito; Eric Sype; Kate
      Sugarman; Nan Langowitz; German Cadenas,
                                                        Appellees.

             On Appeal from the United States District Court
           for the Southern District of Texas, Victoria Division

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             Certificate of Interested Persons
                          No. 24-40160
State of Texas; State of Alabama; State of Alaska; State of
 Arkansas; State of Florida; State of Idaho; State of Iowa;
State of Kansas; Commonwealth of Kentucky; State of Loui-
siana; State of Mississippi; State of Missouri; State of Mon-
tana; State of Nebraska; State of Ohio; State of South Car-
olina; State of Tennessee; State of Utah; State of West Vir-
        ginia; State of Wyoming; State of Oklahoma,
                                    Plaintiffs-Appellants
                                          v.
United States Department of Homeland Security; Alejandro
    Mayorkas, Secretary, U.S. Department of Homeland
 Security; U.S. Citizenship and Immigration Services; Ur M.
   Jaddou, Director of U.S. Citizenship and Immigration
 Services; U.S. Customs & Border Protection; Troy Miller,
Senior Official Performing the Duties of the Commissioner,
    U.S. Customs and Border Protection; United States
  Immigration and Customs Enforcement; Tae D. Johnson,
      Acting Director, U.S. Immigration and Customs
                        Enforcement,
                                  Defendants-Appellees,

  Valerie Laveus; Francis Arauz; Paul Zito; Eric Sype; Kate
        Sugarman; Nan Langowitz; German Cadenas,
                                            Appellees.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, Appellants, as govern-
mental parties, need not furnish a certificate of interested persons.

                                         /s/ Aaron L. Nielson
                                         Aaron L. Nielson
                                         Counsel for the State of Texas




                                           i
           Statement Regarding Oral Argument
    The district court dismissed for lack of standing a challenge brought by nearly
two dozen States against defendants within the U.S. Department of Homeland Se-
curity (collectively, “DHS”) to an immigration regulatory program by which up to
30,000 foreign nationals every month are purportedly authorized to live and work in
the United States—thus imposing millions of dollars in support costs on the States.
Although such an important case would ordinarily meet the Court’s standards for

holding oral argument, the ongoing and daily accumulating injury to the States coun-
sels in favor of swift action. The States therefore respectfully urge the Court to sum-
marily reverse the district court and remand so that it can promptly resolve this im-
portant challenge on the merits. To the extent, however, that the Court believes that
oral argument would be helpful, the States welcome an opportunity to explain why
reversal is warranted.




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                                Introduction
    DHS may only “parole” foreign nationals into the United States “on a case-
by-case basis for urgent humanitarian reasons or significant public benefit.”
8 U.S.C. §1182(d)(5)(A). Nonetheless, the agency has created a new program that
grants parole to nearly 98% of nationals from Cuba, Haiti, Nicaragua, and Venezuela
who apply. Nearly 200,000 foreign nationals have already been allowed to live and
work in the United States under this program, with tens of thousands more being

admitted monthly. Such “en masse” parole cannot be squared with federal law, see,
e.g., Texas v. Biden (MPP), 20 F.4th 928, 997 (5th Cir. 2021), rev’d on other grounds,
597 U.S. 785 (2022), or precedent, see, e.g., Texas v. United States, 86 F.Supp. 3d 591,
670 n.101 (S.D. Tex. 2015) (rejecting program as “merely pretext” where ac-
ceptance exceeds 95%), aﬀ’d, Texas v. United States (DAPA), 809 F.3d 134 (5th Cir.
2015), aﬀ’d by an equally divided court, 579 U.S. 547 (2016). After all, the “whole
point of” Congress’s decision to enact a “‘case-by-case’ requirement” is that DHS
“cannot … parole aliens en masse.” MPP, 20 F.4th at 997.
    Unfortunately, this appeal does not present the Court the opportunity to ad-
dress DHS’s unlawful actions because the district court dismissed the claims of
nearly two dozen States for lack of standing. The district court started in the right
place: It found that a federal program creating new immigration rights for tens of

thousands of individuals will “inevitably” impose significant costs on States.
ROA.11524-11526. But it quickly went astray by dismissing a challenge to that pro-
gram on the grounds that the program’s putative immigration-reducing benefits for

the States outweigh such inevitable costs. ROA.11534-11541.
    The district court’s decision was error twice over: The district court’s appraisal
of the costs and benefits of this massive new regulatory program is wrong on its own
terms. By no means does DHS’s unlawful action benefit the States. More funda-
mentally, however, the district court should not have been comparing costs and ben-
efits at all: Nearly a decade ago—in addressing a claim not unlike this one—this

Court unequivocally held that standing to challenge immigration programs “is not
an accounting exercise.” DAPA, 809 F.3d at 156. Instead, “[o]nce injury is shown,
no attempt is made to ask whether the injury is outweighed by beneﬁts the plaintiﬀ
has enjoyed from the relationship with the defendant.” Id. at 155-56. The district
court here, however, engaged in the very “accounting exercise” this Court rejects.
    The district court’s standing analysis is plainly wrong. The consequences,
moreover, are signiﬁcant. Every month thousands more foreign nationals enter the
United States pursuant to an unlawful program, thus exacerbating what even Presi-
dent Biden admits has become a national immigration “crisis.” The White House,

President Joe Biden Statement on the Bipartisan Senate Border Security Negotiations
(Jan. 26, 2024), https://tinyurl.com/2y733m35. The Court should promptly re-
verse the district court’s clear misapplication of this Court’s standing precedent and

remand so the district court can address the merits in the ﬁrst instance.

                    Statement of Jurisdiction
    The district court had jurisdiction under 28 U.S.C. §§1331, 1346, 1361, 2201,
and 2202, and 5 U.S.C. §§705 and 706. ROA.331. It entered final judgment on
March 8, 2024, ROA.11542-11543, and denied the States’ Rule 59(e) motion on

May 28, 2024, ROA.11627. The States timely appealed the judgment on March 11,

                                          2
2024, and amended their notice of appeal on June 3. ROA.11544-11549; ROA.11643-
11648. The Court thus has jurisdiction under 28 U.S.C. §1291.

                            Issues Presented
     1.   Whether the States have standing to challenge the CHNV Program.

     2. Whether other alleged justiciability bars preclude judicial review.

                       Statement of the Case

I.   DHS’s Limited Parole Authority
     Foreign nationals cannot enter the United States without statutory authoriza-
tion. 8 U.S.C. §1182. Congress in turn has limited the number of foreign nationals
DHS may allow into the United States and under what conditions.
     Relevant here, Congress has given DHS limited authority to “parole” foreign
nationals into the United States. Id. §1182(d)(5). This power may be exercised
“only on a case-by-case basis for urgent humanitarian reasons or significant public
benefit ….” Id. §1182(d)(5)(A). Nor can parole be indefinite: Once the “purposes
of such parole” have ended, “the alien shall forthwith return or be returned to the

custody from which he was paroled and thereafter his case shall continue to be dealt
with in the same manner as that of any other applicant for admission to the United
States.” Id. Congress enacted these limits as part of the Illegal Immigration Reform
and Immigrant Responsibility Act of 1996 (IIRIRA) because, although parole has
never been “a supplement to Congressionally-established immigration policy,”
some Administrations attempt “to admit entire categories of aliens who do not qual-

ify for admission … with the intent that they will remain permanently in the United



                                          3
States.” H.R. Rep. No. 104-469, at 140 (1996). Such en masse parole “contravenes
the intent of Congress and “illustrates why further, specific limitations on the At-
torney General’s discretion are necessary.” Id.
    “Quintessential modern uses of the parole power include, for example, paroling
aliens who do not qualify for an admission category but have an urgent need for

medical care in the United States and paroling aliens who qualify for a visa but are
waiting for it to become available.” MPP, 20 F.4th at 947. By contrast, “DHS can-
not use that power to parole aliens en masse; that was the whole point of the ‘case-
by-case’ requirement that Congress added in IIRIRA.” Id. at 997. In short, the lim-
ited parole authority Congress granted “is not unbounded” but must be exercised
“only on a case-by-case basis for urgent humanitarian reasons or significant public
benefit” and in a way that is both “reasonable and reasonably explained.” Biden v.
Texas, 597 U.S. 785, 806-07 (2022).

II. DHS’s Past Failures to Accept the Limits on Its Authority
    After Congress repeatedly declined to enact the DREAM Act, the Obama Ad-
ministration unilaterally created the Deferred Action for Childhood Arrivals pro-
gram (“DACA”) in 2012 and the Deferred Action for Parents of Americans and

Lawful Permanent Residents program (“DAPA”) in 2014. See, e.g., DAPA, 809
F.3d at 146. For both programs, the Obama Administration claimed that its refusal
to enforce federal law was simply a matter of nonreviewable enforcement discretion

and that approximately two dozen States lacked standing to challenge the programs.
Id. at 150, 167. This Court disagreed, holding both unlawful. See id. at 150-62; see
also Texas v. United States (DACA), 50 F.4th 498, 518 (5th Cir. 2022).

                                         4
    Although President Trump attempted to again enforce immigration law, one of
the first actions of the Biden Administration was to terminate the “Remain in Mex-
ico” program that required “certain non-Mexican nationals arriving by land from
Mexico [to be] returned to Mexico to await the results of their removal proceed-
ings.” Biden, 597 U.S. at 791. The Biden Administration also uses “rhetoric” that

has encouraged millions of foreign nationals to illegally enter the United States.
Texas v. DHS, No. DR-23-CV-00055-AM, 2023 WL 8285223, at *3 (W.D. Tex.
Nov. 29, 2023). Indeed, not only has DHS encouraged foreign nationals to cross the
border, but a federal judge also recently found that DHS went further and deliber-
ately destroyed Texas property to facilitate such entry, while “utter[ly] fail[ing] …
to deter, prevent, and halt unlawful entry into the United States.” Id. at *14.
    The result is “an immigration crisis at the Southwest border of the United
States with devastating effects.” ROA.11512. After holding steady for years at
“fewer than 400,000 per year,” the number of Border Patrol encounters with mi-

grants swelled in 2022 to “more than 2.2 million … a nearly 600 percent increase.”
ROA.11513. Because of this crisis, President Biden earlier this month ordered DHS
to reinstate a policy like President Trump’s “Remain in Mexico” policy, see Interim

Final Rule, 89 Fed. Reg. 48710 (Jun. 7, 2024), though, unfortunately, one riddled
with loopholes. 1




    1
      Earlier this month, President Biden also announced an effective amnesty for
noncitizen spouses and children. See, e.g., The White House, FACT SHEET: Pres-
ident Biden Announces New Actions to Keep Families Together (June 18, 2024),

                                          5
III. The CHNV Program
    On December 22, 2022, DHS announced a new regulatory program (“the
CHNV Program” or “the Program”) for nationals of Cuba, Haiti, Nicaragua, and
Venezuela (“CHNV nationals”). ROA.11519.
    As explained by DHS, the Program is designed to “provide a lawful and stream-

lined way for qualifying nationals of Cuba, Haiti, Nicaragua, and Venezuela to apply
to enter the United States, without having to make the dangerous journey to the
border.” ROA.11519. In total, the Program “allow[s] up to 30,000 qualifying na-
tionals per month from all four of these countries to reside legally in the United
States for up to two years and to receive permission to work here, during that pe-
riod.” ROA.11519. It is hardly certain, however, that they will ever leave. In fact,

DHS “did not explain or analyze” if—let alone “how”—“they would remove
CHNV nationals … after the authorized parole period ….” ROA.11521.
    On January 9, 2023, DHS published four notices outlining the Program in the
Federal Register, declaring it “amenable to immediate issuance and implementa-
tion.” E.g., Implementation of a Parole Process for Cubans, 88 Fed. Reg. 1,266,
1,277 (Jan. 9, 2023). DHS claimed the Program was exempt from the APA’s ordi-

nary rulemaking requirements for multiple reasons, including alleged foreign-affairs
and public-interest concerns, and that it would be “impracticable” to wait for public
comments. See ROA.11521. DHS also has not opened the Program to comments in
the nearly 18 months since it has been in effect.


https://tinyurl.com/FamilyFactSheet. The purported authority for that amnesty
appears to be 8 U.S.C. §1182(d)(5)—the same authority DHS relies on here.

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    Potential beneficiaries of the Program may include CHNV nationals other than
unaccompanied minors. ROA.12794-12795. Notably, “supporters” for CHNV pa-
rolees need not be U.S. citizens or lawful permanent residents, but can include
“asylees,” “refugees,” DACA recipients, and even other “parolees.” ROA.12793.
    Perhaps because of this Court’s decisions regarding the DACA and DAPA pro-

grams, DHS does not claim that the CHNV Program is an exercise of prosecutorial
discretion. Instead, DHS purports to ground the Program in its parole authority.
ROA.11283. Like DACA, however, a CHNV national undergoes a background
check and receives “employment authorization.” ROA.11519; ROA.12800. They
also receive the right to “seek advance authorization to travel to the United States.”
ROA.11519; ROA.12800. In other words, rather than providing actual parole, i.e., a
conditional release from confinement, see Parole, Black’s Law Dictionary 1345 (11th
ed. 2019), the Program provides affirmative immigration rights.
    And, like DACA, the CHNV Program has no end date. Thus, even though Con-

gress refused to allow DHS to use the agency’s parole authority to “supplement …
immigration policy,” H.R. Rep. No. 104-469, at 140, for every month in perpetuity
up to 30,000 CHNV nationals may now enter and work in the country.

IV. Procedural History
    Twenty-one States challenged the CHNV Program. In their operative com-
plaint, the States raised three primary arguments under the APA: (1) the CHNV
Program exceeds DHS’s limited parole authority under 8 U.S.C. §1182(d)(5); (2)
DHS unlawfully refused to engage in notice-and-comment rulemaking; and (3) the

Program is arbitrary and capricious. ROA.327; ROA.355; ROA.11514-11515.

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    The case was tried in August 2023. ROA.11515. Because only one plaintiff must
establish standing, the parties stipulated to confine their standing arguments to
Texas. ROA.11530. The district court found that between October 2022 to June
2023, 13,990 CHNV nationals paroled under the Program listed Texas as their in-
tended destination, 2,664 of whom were minors. ROA.11523; ROA.13076.

    The evidence reflects that these new entrants into Texas impose real-world
costs in at least three ways. First, beneficiaries of the CHNV Program in Texas be-
come eligible for Texas Emergency Medicaid and Texas Children’s Health Insur-
ance Program (“CHIP”) Perinatal Coverage, which are administered by the Texas
Health and Human Services Commission (“HHSC”). ROA.11523; ROA.13076.
HHSC estimated the increased costs of such services as follows:


                              Emergency Medicaid                   CHIP
           2019                   $207,000                        $28,000
           2020                    $141,000                       $37,000
           2021                    $123,000                       $64,000
           2022                    $178,000                       $80,000
     Jan.-May 5, 2023              $30,000                        $51,000
ROA.11524; ROA.12835-12840.
    Second, Texas incurs costs when those putatively paroled under the CHNV Pro-
gram are incarcerated. Although the federal government reimburses Texas for some
incarceration costs, the Texas Department of Criminal Justice offered evidence that
the federal reimbursement program does not cover the full costs. ROA.11524;

ROA.12820-12822. For example, in 2022, the federal government’s reimbursement




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left Texas on the hook for $68.74 per day per incarcerated foreign national.
ROA.11524-11525, ROA.12821-12822.
    Third, education for the 2,664 minors who have already entered Texas under
the CHNV Program costs Texas at least $9,564 per student, which Texas must pay
under Plyler v. Doe, 457 U.S. 202 (1982). ROA.12824-12827. Texas must pay

$11,781 per student for parolees who qualify for Bilingual and Compensatory Edu-
cation Services. ROA.12824-12827. Thus, education alone will cost Texas more
than $25 million—and that is just for students who have arrived thus far.
    On March 8, 2024, the district court issued findings of fact agreeing with Texas
that the CHNV program imposes costs on the States. For example, it found:
   • “Texas will inevitably expend some health care resources on CHNV nation-
      als who enter the United State under the Parole Program.”
   • “Texas will inevitably expend some incarceration related costs on CHNV na-
      tionals who enter the United States under the Program.”

   • “[A]n increase in CHNV nationals under the age of 18 … will inevitably re-
      sult in at least some costs for Texas” and its public schools.
ROA.11524-11526.

    The district court also found that notwithstanding 8 U.S.C. §1182(d)(5)’s re-
quirement that parole determination must be individualized on a “case-by-case ba-
sis,” DHS approves 97.6% of adjudicated applications. ROA.11523.

    Yet the district court concluded the States lack standing, based on what it ad-
mitted was the court’s own “estimates” that “the record reflects that the Program
has resulted in a decrease of CHNV nationals entering the United States” resulting

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in a “net decrease in costs.” ROA.11528-11529; ROA.11532. Although the district
court’s analysis is not entirely clear, it appears it concluded the Program must be
evaluated in connection with a putative agreement with Mexico 2 under which
“Mexico has indicated that its willingness to accept returns of CHNV nationals to
Mexico is contingent on the continued availability of lawful processes for nationals
from those countries to come directly to the United States.” ROA.11523. The dis-
trict court looked to average decreases in Venezuelan nationals entering the United
States during an approximately 90-day period from October 2022 to January 2023,

and a two-week period for Cuban, Haitian, and Nicaraguan nationals in the week
before and the week after the Program was implemented. ROA.11528. 3 According
to the district court, despite DAPA’s instruction that standing is “not an accounting
exercise,” 809 F.3d at 156, this Court’s precedents “indicate that … looking to the
costs that would have been incurred absent the challenged agency action[] is the
appropriate lens” through which to examine Texas’s standing. ROA.11536.

    The district court, however, said nothing about the testimony of the DHS As-
sistant Secretary for Border and Immigration Policy that such a decrease “can likely



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     This “agreement” is not a treaty and the States have not seen it. The district
court used the word “agreement,” but the cited declaration evidence does not.
ROA.11523; ROA.13404; ROA.13417.
    3
      The district court mentioned data from DHS about a five-month period before
and after the Program’s creation, ROA.11528, but explained they do not address the
key question, see ROA.11535. It thus appears that the district court focused on these
brief 90-day and two-week periods, though the point is somewhat unclear. Either
way, the district court did not focus on a long period of time.

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be attributed to a number of factors,” including “misinformation campaigns by
smugglers” and “the aftermath of the fire.” ROA.13411. Nor did it account for the
fact that any cost-benefit balance inevitably changes over time and border crossings
by CHNV nationals were indisputably greater in the summer of 2023 than any pre-
Program “baseline” period. ROA.11534-11539. The States argued there were errors

in the district court’s analysis, but the court denied their Rule 59(e) motion.

                    Summary of the Argument
    I.   The Court will rarely see a more clear-cut example of using “pen-and-
phone regulations as substitutes for laws passed by the people’s representatives,”
West Virginia v. EPA, 597 U.S. 697, 753 (2022) (Gorsuch, J., concurring). In fact,
the Court has already held that DHS cannot “parole aliens en masse.” MPP, 20
F.4th at 997. Yet that is what DHS is doing. The district court also found that the
CHNV Program forces Texas to incur significant costs. It had to: Texas alone will
spend millions of dollars more per year providing services to foreign nationals who
are unlawfully here—not to mention other pocketbook injuries.
    Nevertheless, the district court held that the States lack standing to challenge

this unlawful program because the rate of CHNV nationals entering the United
States via Mexico decreased during a short period around the time that the States
filed their operative complaint. According to the district court, this means the
CHNV Program on net benefits rather than harms the States, thus precluding the
States from suffering an Article III injury.
    That analysis is wrong in multiple respects. To start, it improperly turns stand-

ing into the very “accounting exercise” this Court has repeatedly rejected. Nor did

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the district court try to bring its analysis within the limited exception to Article III’s
‘no accounting’ rule for closely related transactions the Court has suggested in
dicta. Nor could that exception apply here because CHNV nationals who enter the
United States with lawful authorization and work permits are, by definition, not
similarly situated with those who enter from Mexico, many of whom have crossed

illegally and essentially none of whom may legally work.
    Moreover, even if standing were an accounting exercise, the district court went
about it in an impermissible way. The district court ignored evidence that the
CHNV Program has no connection to short-term decrease in entry, which had en-
tirely disappeared by the time of trial—demonstrating that the States’ allegations of
likely future injury were well founded at the time of the complaint. And the district
court gave short shrift to the special solicitude that States receive regarding stand-
ing—contrary to this Court’s DAPA and DACA decisions. Indeed, especially given
such special solicitude, the Court has already indicated that questions about overall

immigration numbers do not relate to injury, but to traceability. Any of these errors
by itself warrants reversal. Combined, there can be no doubt.
    II. Nor can the district court’s judgment be supported by any other jurisdic-

tional objection that DHS raised below. Because the district court did not address
these objections, the Court should remand so the district court can resolve them in
the first instance. This Court, after all, is one of “review, not first view.” Montano

v. Texas, 867 F.3d 540, 546 (5th Cir. 2017). If the Court reaches DHS’s additional
objections in the first instance, however, it should reject them as meritless. Both this
Court and the Supreme Court, for example, have already recognized that an

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immigration regulatory program that purports to confer legal benefits is different
from mere nonenforcement. The Court has also held that 8 U.S.C.
§1252(a)(2)(B)(ii)’s bar on judicial review does not apply to program-wide deci-
sions. And any suggestion that the APA does not authorize judicial review is
squarely foreclosed by both precedent and the presumption of reviewability.

                          Standard of Review
     The Court reviews legal questions de novo and a district court’s factual findings
for clear error. Preston Expl. Co., L.P. v. GSF, L.L.C., 669 F.3d 518, 522 (5th Cir.
2012). Clear-error review “is not a rubber stamp,” Alexander v. S.C. State Conf. of
the NAACP, 144 S.Ct. 1221, 1240 (2024), and a district court clearly errs as a matter
of law when it ignores material record evidence, see, e.g., Career Colls. & Sch. of Tex.
v. Dep’t of Educ., 98 F.4th 220, 237 (5th Cir. 2024).

                                   Argument

I.   Texas has Article III standing.
     To establish Article III standing, a plaintiﬀ must show a concrete injury that is

fairly traceable to the defendant’s action and likely redressable by the requested re-
lief. See, e.g., Texas v. United States, 497 F.3d 491, 496-98 (5th Cir. 2007) (following
Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). The States meet all three

requirements because the costs found by the district court are concrete and traceable
to CHNV nationals paroled into Texas under the Program, and an injunction will
foreclose future costs. The district court’s contrary conclusion is erroneous in nu-
merous respects.



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    A. The district court improperly turned the injury element of standing
       into an “accounting exercise.”

        1.   Justiciability requires only the existence of an injury.
   a.   Article III standing “is not an accounting exercise.” DAPA, 809 F.3d at 156;
see also DACA, 50 F.4th at 518. Instead, “[o]nce injury is shown, no attempt is made
to ask whether the injury is outweighed by beneﬁts the plaintiﬀ has enjoyed from the
relationship with the defendant.” Wendt v. 24 Hour Fitness USA, Inc., 821 F.3d 547,

550 n.10 (5th Cir. 2016) (quoting DAPA, 809 F.3d at 155-56). After all, “[s]tanding
is recognized to complain that some particular aspect of the relationship is unlawful
and has caused injury.” 13A C. Wright & A. Miller, Fed. Practice & Procedure
§3531.4 (3d ed. 2014) (emphasis added). 4 Only one plaintiﬀ’s standing need be
established. See, e.g., Biden v. Nebraska, 143 S.Ct. 2355, 2365 (2023).
   The reason for this “no accounting” rule is straightforward. Because federal
courts can hear only “Cases” and “Controversies,” U.S. Const. art. III, §2, standing
prevents the judiciary from deciding abstract questions or issuing advisory opinions.
See, e.g., Massachusetts v. EPA, 549 U.S. 497, 514-15 (2007). But standing is not the
bar to jurisdiction the district court made it out to be. “The injury alleged need not
be substantial; it need not measure more than an identiﬁable triﬂe.” OCA-Greater
Hous. v. Texas, 867 F.3d 604, 612 (5th Cir. 2017) (quoting ACORN v. Fowler, 178 F.3d



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      Other courts agree. See, e.g., Maryland Shall Issue, Inc. v. Hogan, 971 F.3d 199,
212 (4th Cir. 2020); New York v. DHS, 969 F.3d 42, 60 (2d Cir. 2020); Nat’l Colle-
giate Athletic Ass’n v. Governor of New Jersey, 730 F.3d 208, 223 (3d Cir. 2013); L.A.
Haven Hospice, Inc. v. Sebelius, 638 F.3d 644, 656-59 (9th Cir. 2011); Sutton v. St.
Jude Med. S.C., Inc., 419 F.3d 568, 570-75 (6th Cir. 2005).

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350, 358 (5th Cir. 1999) (cleaned up). Thus, while courts should refrain from
exercising jurisdiction when no triﬂes can be identiﬁed, even a non-substantial injury
is enough for standing. See id.
   Here, the district court found that “Texas will inevitably expend some health
care resources on CHNV nationals who enter the United States under the Parole

Program,” ROA.11524, and that “an increase in CHNV nationals under the age of
18 entering Texas under the Parole Program will inevitably result in at least some
costs for Texas.” ROA.11526. Those ﬁndings—which are plainly correct—
established standing. “For standing purposes, a loss of even a small amount of
money is ordinarily an ‘injury.’” DACA, 50 F.4th at 518. Even nominal damages are
enough. See Uzuegbunam v. Preczewski, 141 S.Ct. 792, 797-99 (2021).
   Rather than apply this blackletter rule, the district court turned standing into the
very “accounting exercise” precedent rejects: Even after acknowledging the real-
world costs imposed on Texas, the district court found standing lacking because it

concluded—based on a short period around the time of the operative complaint—
that since the Program’s introduction, the rate at which CHNV nationals enter the
United States decreased. ROA.11512. The court explained that in determining

whether a State has been injured, it must examine “whether the numbers of aliens,
and the associated amount expended because of them, increased relative to those
same numbers prior to the implementation of the challenged program.” ROA.11540.

In fact, the district court said that to assess injury, it must consider whether there
has been a “net decrease in costs.” ROA.11532. That is wrong.



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   b.    The district court’s approach cannot be reconciled with DAPA and DACA.
In DAPA, the Court held that courts must not consider “oﬀsetting beneﬁts” because
doing so amounts to an inappropriate “accounting exercise.” 809 F.3d at 155-56.
Further, the Court held that Texas is entitled to special solicitude in the standing
analysis, recognizing the harm to the State’s sovereignty created by DHS’s failures

to fully enforce federal law. Id. at 153. It mattered not, the Court said, that DHS
could identify possible oﬀsets in the form of ancillary beneﬁts that may result from
the program. Id. at 156-57. An evenly divided Supreme Court aﬃrmed, Texas, 579
U.S. 547, leading the Obama Administration to withdraw the program.
   In DACA, the Court reached the same conclusion as to the DACA program. 50
F.4th at 518. Again, before holding the DACA program unlawful, the Court held that
the States had standing to challenge the program because Texas established
“expenditures in providing emergency medical services, social services and public
education for illegal aliens.” Id. at 518-19. The Court reached this conclusion even

in the face of DHS’s assertions that without the DACA program, Texas’s
“healthcare costs would increase for aliens who remain in Texas.” Id. at 518. Again,
the Court recognized Texas’s special solicitude in the standing analysis “because of

its procedural right under the APA to challenge DACA and Texas’ quasi-sovereign
interest in alien classiﬁcation, an area in which the State would like to, but cannot,
regulate.” Id. at 517.

   By themselves, the Court’s opinions in DAPA and DACA conﬁrm the district
court erred. After ﬁnding that agency action will impose a ﬁscal injury on a State,



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nothing requires a court to go further and decide whether that agency action on net
will beneﬁt the State. As the Court has held, standing is not a matter of bookkeeping.
   c.     The Court’s ‘no accounting’ rule makes good sense. A contrary rule would
be unworkable because jurisdiction would depend on the vagaries of migrant ﬂow,
which naturally vacillate for a variety of reasons. Supra pp. 10-11. “[T]he injury

required for standing,” however, “need not be actualized” so long as the prospect
of discrete injury “is real, immediate and direct.” Davis v. FEC, 554 U.S. 724, 734
(2008).
   Even one person paroled into Texas under an illegal application of DHS’s parole
authority causes Texas to sustain an injury for standing purposes. See DACA, 40
F.4th at 218 n.6; MPP, 20 F.4th at 966; DAPA, 809 F.3d at 155-56. And the facts
proved that by trial, that future potential injury had happened and promised to
continue indeﬁnitely. Infra pp. 30-32. Yet the district court said Texas was not
injured because discovery revealed that the ﬁling of the operative complaint

coincided with a temporary dip in arrivals. ROA.11633-11634. That is not the law
anywhere.

          2. The district court matched costs and benefits of a different type
             and from different transactions.
   The Court has said—albeit in dicta—that Article III’s ‘no accounting’ rule may

not apply in cases with “oﬀsetting beneﬁts that are of the same type and arise from
the same transaction.” DAPA, 809 F.3d at 155. Assuming the exception exists, it is
narrow and inapplicable here. Indeed, the district court declined to consider it.




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   a.   Although this Court has maintained the possibility of considering oﬀsetting
beneﬁts of “the same type” and arising out of the “same transaction” as the
plaintiﬀ’s costs, it has refused to do so in immigration cases. For example, in GLO
v. Biden, 71 F.4th 264 (5th Cir. 2023), the Court held that States had standing to
challenge an agency’s refusal to fund a border wall even if such refusal to do so would

allow investment on “system-enhancing technology” that DHS claimed would
more eﬀectively reduce immigration. Id. at 273. “[E]ven if the installation of system-
enhancing technology assists in border control,” the Court explained “that does not
negate Texas’s injury, because we consider only those oﬀsetting beneﬁts that are of
the same type and arise from the same transaction as the costs.” Id. (quoting DAPA,
809 F.3d at 155). The States thus were not required to “demonstrat[e that] their
‘preferred’ border-barrier system would be more eﬀective than the system DHS has
elected to construct” because “once an ‘injury is shown, no attempt is made to ask
whether the injury is outweighed by beneﬁts the plaintiﬀ has enjoyed from the

relationship with the defendant.’” Id. at 274 (quoting DAPA, 809 F.3d at 155-56).
Furthermore, GLO explicitly assessed whether there would be “a net increase in the
number of undocumented immigrants who enter the United States” as a question

of traceability—not injury. Id. at 273 (quotation omitted).
   MPP reiterated this point. There, the Court held that DHS’s creation of a
regulatory pathway to parole for aliens who otherwise would be barred caused ﬁscal

harms to States. 20 F.4th at 966. DHS argued that the States could not demonstrate
injury because “encounters jumped from 58,000 in January 2019, when MPP ﬁrst
took eﬀect, to 144,000 in May 2019, while MPP was still in eﬀect.” Appellants’ Br.

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at 14, Texas v. Biden, No. 21-10806, 2021 WL 4444444 (5th Cir. Sept. 20, 2021).
Instead of relying on overall ﬂows of migrants, however, the Court said “[t]he
district court’s most important ﬁnding was that MPP’s termination”—that is, the
challenged action—“has increased the number of aliens released on parole into the
United States, including Texas.” MPP, 20 F.4th at 966 (emphases added). In other

words, rather than focusing on whether the rate of migration increased, let alone
compounding the economic impact of all types and variations of immigration into a
single category, the Court held that “even if the Government were correct that MPP
was an ineﬀective deterrent, … MPP’s termination drastically increases the
proportion of incoming aliens who are paroled rather than returned to Mexico. And
it is precisely that increase in paroles that causes the States’ harms.” Id. at 968
(emphases added). Similar analysis applies here.
   b.   DHS’s only argument that this narrow exception to the Court’s ordinary
‘no accounting’ rule allowed the district court to weigh Texas’s established injury

against oﬀsetting beneﬁts is premised on the notion that Texas beneﬁts from
Mexico’s putative agreement “to accept returns or removals of CHNV nationals
encountered at the Southwest border while the Program was in eﬀect.” ROA.11522.

According to DHS, courts must consider not only the obvious and direct costs to
Texas from the Program, but also such supposedly oﬀsetting beneﬁts. ROA.11028.
Article III does not require that vague and convoluted accounting exercise.

   Tellingly, not even the district court accepted DHS’s claim that these costs and
beneﬁts were of the same type or came from the same transaction. ROA.11028
(citing DAPA, 809 F.3d at 155). It declined to evaluate DHS’s position under that

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test but instead concluded it need not consider “arguments with respect to …
oﬀsetting beneﬁts.” ROA.11541. The States agree that the district court was right to
not consider “oﬀsetting beneﬁts,” but observe that the district court never
attempted to reconcile that statement with its decision to consider the beneﬁts of
(allegedly) reduced overall entry into Texas against the costs Texas undoubtedly

incurs for individual CHNV parolees. The district court’s standing analysis thus
contradicted itself—a telltale sign of reversible error.
   Regardless, the Court’s narrow “oﬀsetting beneﬁts” exception—to the extent it
exists at all—cannot apply here for at least three reasons.
   First, any DHS deal with Mexico is not part of the “same transaction,” DAPA,
809 F.3d at 155, as the CHNV Program’s costs imposed on Texas. The record calls
into question whether a formal agreement even exists by referencing the
“independent decision” of Mexico “to accept the returns of” CHNV nationals
“who crossed the [Southwest Border] without authorization.” Implementation of a

Parole Process for Haitians, 88 Fed. Reg. 1243-44 ( Jan. 9, 2023) (emphasis added).
Assuming DHS’s acceptance of the beneﬁts of such “independent decisions as to
[Mexico’s] ability to accept returns of third country nationals,” id. at 1251, could be

considered an informal agreement, no State was consulted—let alone regarding
what quid DHS should oﬀer in return for Mexico’s implicit quo. Yet there is no
inherent reason why the Program must be linked to a deal with Mexico. To the

contrary, as often occurs during political haggling, DHS could have purchased
Mexico’s cooperation with any type of tradeable federal resource.



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   The district court’s factual ﬁndings conﬁrm this point. It explained that Mexico
sought “the continued availability of lawful processes for nationals from those
countries to come directly to the United States.” ROA.11523. Of course, the CHNV
Program is not a “lawful process”—as MPP conﬁrms. Even putting that aside, the
supposed side deal with Mexico apparently was not for the CHNV Program at all.

Nothing in the district court’s assessment of this alleged agreement—again, not a
treaty—suggests that the deal with Mexico should apply to 30,000 people a month
(as the Program does) or must provide for two years of lawful presence (which limit,
it appears, DHS has no plan to implement, ROA.11521). DHS’s failure to open the
Program to comments prevented the States from pointing out such obvious errors
in DHS’s implementation of any agreement with Mexico.
   Second, preventing illegal cross-border entry of CHNV nationals from Mexico is
not remotely a “beneﬁt” “of the same type” as the “costs” imposed on Texas.
DAPA, 809 F.3d at 155. The federal government is duty-bound to protect the States

from illegal border crossings. Id. at 153-54. And Congress has taken at least some
steps to do so by making all these individuals—both those covered by the deal with
Mexico and CHNV parolees—legally inadmissible. That DHS may have made a

deal with Mexico to allow fewer individuals unlawfully in the country might do
something to mitigate the harm to Texas, but it does not eliminate Texas’s standing
if the State still must spend a single dollar it would not otherwise have to spend due

to the CHNV Program. Uzuegbunam, 141 S.Ct. at 797-99.
   Again, precedent supports Texas. As the Court explained in DAPA, the States
relinquished a portion of their power to manage migration in exchange for joining

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the Union. Thus, when DHS does not enforce federal law, the States necessarily
suﬀer an injury to their sovereignty. DAPA, 809 F.3d at 153-54. Here, DHS has a
duty to prevent foreign nationals from illegally entering Texas. It turns that duty on
its head to say that DHS’s creation of an unlawful parole program cannot be
challenged because it supposedly helps reduce injuries caused by DHS’s separately

unlawful failure to prevent illegal entry elsewhere. DHS cannot use its own “utter
failure … to deter, prevent, and halt unlawful entry” and “obviously derelict”
conduct, Texas, 2023 WL 8285223, at *14, as the very reason Texas lacks standing
to challenge additional and distinct unlawfulness.
   Third, regardless, foreign nationals who are removed to Mexico or who never
enter Texas from Mexico because of the prospect of removal are not of the same
category as foreign nationals paroled into Texas under the CHNV Program. After
all, CHNV nationals who are removed to Mexico entered the United States illegally,
whereas those paroled under the Program enter through a separate, purportedly

lawful process. ROA.11522. Individuals unlawfully present in the United States
should be incarcerated in federal detention centers paid for by the federal
government and then removed, and cannot lawfully work. Indeed, entering the

United States outside of a port of entry is a crime. 8 U.S.C. §§1325-26. By contrast,
parolees can stay in Texas until parole ends and are authorized to work—thus
imposing greater and diﬀerent kinds of costs on Texas. Equating two groups of

foreign nationals—one group (purportedly) lawfully in Texas and another group
unlawfully present in Texas—is a category error. DAPA, 809 F.3d at 148-49.



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   The only relevant testimony emphasized this point. Intervenor Defendants’ sole
witness, Eric Sype, testiﬁed that he sponsored a Nicaraguan national under the
CHNV Program who had never left Nicaragua and would not have entered Texas if
he were not a Program beneﬁciary. ROA.12071-12072. Accordingly, even if the
Program was conditioned on an agreement with Mexico, it addresses a diﬀerent

category of foreign nationals.

        3. Recent Supreme Court precedent does not alter this rule.
   Although the Supreme Court has revised this Court’s standing analysis in some

respects, it has never altered the rule that once an injury is established, courts do
not consider oﬀsetting beneﬁts. If anything, the Supreme Court seems to have
implicitly agreed with this Court’s position when it reversed the Court’s decision in
MPP on the merits—but not standing. See Biden, 597 U.S. at 801-07. In all events,
because the Supreme Court reversed MPP on other grounds, this Court’s standing
analysis remains binding circuit precedent. See Data Mktg. P’ship, LP v. Dep’t of
Lab., 45 F.4th 846, 856 n.2 (5th Cir. 2022) (MPP’s standing analysis is binding);
Cent. Pines Land Co. v. United States, 274 F.3d 881, 893 (5th Cir. 2001).
   True, the Court has held that States sometimes lack standing to impose upon
DHS to make more arrests. See United States v. Texas (Enforcement Priorities), 599
U.S. 670, 680-81 (2023). It does not follow, however, that “federal courts may never
entertain cases involving the Executive Branch’s alleged failure to make more
arrests or bring more prosecutions.” Id. at 681. To the contrary, relying on this
Court’s precedent, the Supreme Court distinguished a situation where the federal
government refuses to enforce federal law from one where it does not enforce

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federal law and purports to provide “legal benefits or legal status.” Id. at 683 (citing
DAPA, 809 F.3d at 154). By providing for work authorization and advanced travel
authorization to internal ports of entry, the CHNV Program is much “‘more than
simply a non-enforcement policy.’” Enforcement Priorities, 599 U.S. at 683 (quoting
DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 18-19 (2020)).

   Moreover, Enforcement Priorities also notes that “a plaintiff arguably could obtain
review of agency non-enforcement if an agency ‘has consciously and expressly
adopted a general policy that is so extreme as to amount to an abdication of its
statutory responsibilities.’” Id. at 682-83 (quoting Heckler v. Chaney, 470 U.S. 821,
833 n.4 (1985)). “So too, an extreme case of non-enforcement arguably could
exceed the bounds of enforcement discretion and support Article III standing.” Id.
at 683. The Enforcement Priorities majority found that the States there had “not
advanced a Heckler-style ‘abdication’ argument in th[at] case or argued that the
Executive has entirely ceased enforcing the relevant statutes.” Id. But relevant here,

the Supreme Court’s analysis reaffirms an approach to standing from DAPA, which
found that States have standing to challenge immigration rules based on this
abdication theory. See Texas, 86 F.Supp.3d at 636-41.

   Here, as in DAPA, the CHNV Program represents an abdication of DHS’s
statutory responsibility. As in DAPA, the CHNV Program “prevents immigration
officials from enforcing these [limiting] provisions of the” parole statute. Texas v.
United States, 549 F.Supp.3d 572, 608 (S.D. Tex. 2021). And, as in DAPA, the
district court found that nearly every applicant to the CHNV Program was granted
parole. ROA.11523. “Deciding to parole aliens en masse is the opposite of case-by-

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case decisionmaking.” MPP, 20 F.4th at 942. The sheer “number of aliens paroled
each month … gives rise to a strong inference that the Government is not really
making these parole decisions on a case-by-case basis.” Texas v. Biden, 646
F.Supp.3d 753, 775 (N.D. Tex. 2022) (cleaned up) (quoting Biden, 597 U.S. at 825-
26 (Alito, J., dissenting)), appeal dismissed, No. 23-10143, 2023 WL 5198783 (5th

Cir. May 25, 2023). Such en masse parole provides standing here, MPP, 20 F.4th at
942—even if Enforcement Priorities were applicable, which it is not.

        4. The district court’s analysis fails.
   Despite the foregoing, the district court concluded that the States lack standing.
To begin, it focused on “what the baseline migration numbers should be” for a
“before versus after” analysis. ROA.11534-11535. Yet that is the wrong framing.
Rather than looking at baselines and comparators, it should have done what this
Court’s cases require: Simply determine whether Texas must expend resources for
beneﬁciaries of the unlawful CHNV Program. Because the district court answered
that question in the aﬃrmative, its standing inquiry should have ended there.
   The district court, however, reasoned that forcing Texas to spend money is not
an “actual injury” because if the Program on “net” results in less overall entry,
Texas would not be “ﬁnancially harmed.” ROA.11535-11536. Yet setting oﬀ costs
caused by the presence of one foreign national (a CHNV parolee) against costs
supposedly saved by the absence of another foreign national (someone trying to

enter from Mexico) can only be one thing: an accounting exercise.
   The district court also stated that in “immigration cases, a comparative rise in
the number of migrants in the State was the norm.” ROA.11536. The parties,

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however, disagreed sharply in DAPA, MPP, and GLO whether the challenged action
would on net harm the States. See supra pp. 17-23. This Court correctly concluded
in each case that the whole cost/beneﬁt inquiry was misplaced. That is consistent
with the overarching purpose of Article III standing. By requiring concrete
disputes—such as whether the Program will cause Texas to expend funds for CHNV

parolees—Article III’s standing requirement prevents courts from being forced to
decide amorphous and speculative questions; standing thus cannot require courts to
decide such questions. Yet, accepting the district court’s rule would bog courts
down in determining not just whether a plaintiﬀ has been forced to expend money
(a straightforward question), but in considering possible beneﬁts arising elsewhere
due to hundreds of thousands of other people’s decisions regarding endless
confounding political, social, and economic variables. The complexity of such
analysis is enough to demonstrate the wisdom of this Court’s holdings that standing
is not an accounting exercise. Surely Article III does not require multivariate

analysis.
   Against all of this, the district court oﬀered snippets from several of this Court’s
cases. Yet it misunderstood them. Consider its reading of MPP and Louisiana v.

NOAA (LDWF), 70 F.4th 872 (5th Cir. 2023). True, the “most important ﬁnding”
in MPP was that the program’s “termination has increased the number of aliens re-
leased on parole,” ROA.11540 (quoting MPP, 20 F.4th at 966) (emphasis added), and

that the ﬁscal harm caused by “illegal encounters ‘skyrocketed.’” ROA.11538 (quot-
ing MPP, 20 F.4th at 968). But the Court never focused on each and every economic
aspect of immigration (which the district court’s analysis logically implicates), nor

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on whether such “skyrocket[ing]” expenses may have been elsewhere. And to the
extent this Court considers increases as to “relative costs,” nothing in GLO or MPP
requires Texas to show that it is experiencing an increasing rate of migration. See
GLO, 71 F.4th at 273-74. Indeed, GLO treated the question of whether there was a
“net increase” as one of redressability—not injury. Id. at 272. In any event, there is

no basis to oﬀset costs and beneﬁts here because they are fundamentally diﬀerent in
kind, see supra pp. 17-23, and, regardless, the evidence the States oﬀered establishes
standing even on the district court’s own mistaken terms, see infra pp. 30-33.
   The district court’s reliance on LDWF is similarly mistaken. There, Louisiana
claimed that requiring vessels to install a turtle-excluder device would injure the
State by straining its enforcement resources and increasing enforcement costs.
LDWF, 70 F.4th at 880-81. But LDWF did not turn on anything about the rate of
cost inﬂation. Instead, the concern was that rather than evidence of concrete injury,
Louisiana relied on allegations “that additional enforcement duties triggered by the

Final Rule ‘could substantially burden and interfere with LDWF Enforcement’s
ability to eﬀectively perform its various other enforcement duties.’” Id. at 881. Texas
relied on no such speculation: It oﬀered evidence that costs are incurred and will be

incurred in the future. Further, the scheme in LDWF apparently included federal
payments to “oﬀset” increased State enforcement spending. Id. at 882, 884.
Regardless, LDWF said nothing about this Court’s ‘no accounting’ rule, which

Louisiana’s brieﬁng did not mention. The district court erred by reading a decision
that doesn’t mention accounting as sub silentio overruling the rule that this Court
has clearly articulated and repeatedly applies in the immigration context.

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    B. Even if justiciability were an accounting exercise, the district court got
       the math wrong as a matter of law.
    Even if precedent allowed the district court to set off the costs and benefits of
the CHNV Program, it still erred for two reasons. First, it did not apply a sound

methodology. And second, it disregarded evidence that any illusory benefits were
fleeting while disregarding the prospective injury that the States were experiencing
at the time of trial and continue to experience today.

        1.   The district court clearly erred by disregarding evidence suggest-
             ing multiple causes of decreased migration rate.
   Even if standing did require courts to balance the costs and beneﬁts of a
challenged action to determine whether, on net, the plaintiﬀ was injured, the district
court’s analysis fails on its own terms. The district court concluded that the CHNV
Program has resulted in lower rates of entry, ROA.11528, but it did not base this
ﬁnding on anything more than the fact that entries happened to have decreased
during brief intervals near the ﬁling of the operative complaint. ROA.11528-11529.
Although the district court’s precise analysis is somewhat unclear, see supra p. 10 &
n.3, it apparently considered average decreases during a 90-day period for
Venezuelans and a mere two weeks for the nationals of the other countries.
ROA.11528. Such analysis contains at least three independent errors.
   First, the district court erred by considering such a short span of time. Making
factual ﬁndings based on such a limited period—without ensuring that period was
even representative—was clearly erroneous, especially because the States’
requested relief is prospective in nature and covers a time indeﬁnite in duration. It
is clear error to use “an extremely small sample size,” e.g., Contreras v. City of Los


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Angeles, 656 F.2d 1267, 1275 (9th Cir. 1981), yet that is what the district court did.
There is no basis to assess the injury caused by a perpetual program based on the
happenstance of a few months’ or weeks’ worth of migrations ﬂows.
   Second, even though “any scientist or statistician must acknowledge that
correlation is not causation,” Huss v. Gayden, 571 F.3d 442, 459 (5th Cir. 2009)

(cleaned up), the district court failed to account for a similar drop in migrant ﬂows
during this period across all population groups—not just CHNV populations—as
reﬂected in graphics provided to the district court, ROA.11089-11093, and appended
here as Tab 6 of the States’ record excerpts. There is thus no reason to deduce that
any decrease in border crossing by CHNV nationals was caused by the Program
rather than other factors applicable to all foreign nationals.
   Third, the district court did not consider other likely causes of that short-term
reduction in border crossings. When relying on statistics, it is necessary to “narrow
down the universe of possible confounding factors.” In re Joint E. & S. Dist. Asbestos

Litig., 52 F.3d 1124, 1130 (2d Cir. 1995); see also, e.g., Hardeman v. Monsanto Co., 997
F.3d 941, 964 (9th Cir. 2021). The district court failed to do so.
   DHS’s own analysis reﬂects that migrant ﬂows are aﬀected by “a number of

factors,” including “misinformation campaigns by smugglers.” ROA.13411. DHS’s
declarant further admitted how “the imposition of stiﬀened consequences for
irregular migration in place at the land border” have all contributed to lower

encounters of Venezuelan migrants between ports of entry. ROA.13411. The same
is true for actions by other nations, including Colombia, Costa Rica, Ecuador,
Canada, and Guatemala. ROA.13422-13423. None of that has anything to do with

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the CHNV Program. In short, as DHS has admitted, “numerous factors can drive a
large increase in the number of noncitizens or a dramatic decrease in encounters[.]”
Mot. at 8, Florida v. Mayorkas, No. 23-11644, ECF 3-2 (11th Cir. May 19, 2023); see
also ROA.11094 (similar admission). Moreover, the States also established below
that illegal immigration follows seasonal patterns. ROA.11090; see also, e.g., John

Gramlich & Alissa Scheller, What’s Happening at the U.S.-Mexico border in 7 charts,
Pew Research Center (Nov. 9, 2021), https://tinyurl.com/PewImmigPattern. In
other words, every year migration decreases in the winter and increases again in the
spring and summer; the district court’s analysis overlooks this pattern.
    Rather than address this evidence, the district court relied on temporal
proximity—in other words, correlation—to infer causation. ROA.11528.
Disregarding relevant evidence, however, is clear error as a matter of law. See Career
Colls., 98 F.4th at 237. Regardless, though the Court aﬀords district courts some
deference in weighing contradictory evidence, where facts are largely undisputed

and credibility is not at issue, such deference is minimal. See, e.g., Anderson v. City
of Bessemer City, 470 U.S. 564, 574-75 (1985). Here, the district court’s focus on
temporal correlation to exclusion of all other relevant facts would not even survive

Daubert, see, e.g., Johnson v. Arkema, Inc., 685 F.3d 452, 467 (5th Cir. 2012)—let
alone justify dismissing the complaint of nearly two dozen States.

        2. Facts at the time of trial confirm that Texas is likely to be injured
           in the future.
   Even if Texas were wrong about all the foregoing, the district court’s standing

analysis would still fail: Whatever happened in February 2023, the States’ claim is


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prospective, ROA.326-361, and the likelihood of a future injury must be assessed at
each stage of the proceeding. City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983).
The district court never held that the States failed to plead a suﬃcient injury in good
faith—notwithstanding the Intervenors’ motion to dismiss under Rule 12(b)(1).
ROA.11808. And at the time of trial in summer of 2023, it was plain that the CHNV

Program does not reduce illegal border crossings by CHNV nationals.
   Because the States seek prospective relief, they are only required to show that a
future injury is “fairly likely.” Crawford v. Hinds Cnty. Bd. of Supervisors, 1 F.4th 371,
376 (5th Cir. 2021). It follows, therefore, that a plaintiﬀ establishes standing based
on an injury that it anticipated when it ﬁled suit when that injury later comes to
fruition. See, e.g., id. at 377 (Ho, J., concurring). After all, when a plaintiﬀ presents
post-complaint evidence that his predicted harms did, in fact, occur, “he is not
presenting a new injury that did not threaten him until after he ﬁled suit. Rather, he
is producing further evidence to conﬁrm the existence of a threat present when he

ﬁled suit.” Id.; accord Dep’t of Com. v. New York, 588 U.S. 752, 768 (2019).
   Texas presented such evidence below conﬁrming that both the rate and absolute
numbers of entrants by CHNV nationals increased between the time the Program

was instituted and the time of trial. See ROA.11490-11492. Indeed, using DHS’s
own encounter data for nationals from “Cuba,” “Haiti,” “Nicaragua,” and
“Venezuela,” Texas showed the following:




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ROA.11414 (describing methodology).
   As this chart demonstrates, total nationwide encounters with CHNV nationals
were increasing at the time of trial—from 56,708 in July 2023, ROA.11088, to 76,604
in August, ROA.11413-11414, to 113,324 in September. ROA.11413-11414. Texas’s

predicted harms thus were not just “fairly likely”—they came to be. DHS’s own
ﬁgures showed that its theory does not withstand scrutiny.
   It was a “manifest error of law or fact,” Ross v. Marshall, 426 F.3d 745, 763 (5th
Cir. 2005), for the district court to set aside these data and ﬁnd that “the rate of
entries here has decreased subsequent to the implementation of the CHNV


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Program.” ROA.11540. This is especially true because the Program has no
expiration date. The States predicted when they ﬁled this challenge that crossings
by CHNV nationals would increase. That has now happened, just as the States
reasonably predicted. That is more than enough to establish injury.
   In refusing to consider this data, the district court stated that even if the numbers

changed, the States could not “establish standing retroactively.” ROA.11633
(quoting In re Technicool Sys., Inc., 896 F.3d 382, 386 (5th Cir. 2018)). Respectfully,
that misses the point. Technicool involved whether a party who was not a creditor at
the time a suit was ﬁled could sue for past damages if he became one after the case
was ﬁled. 896 F.3d at 386. That is a fundamentally diﬀerent question from whether
facts that materialize post-complaint can be considered to determine whether a
prospective injury was reasonably likely at the time of the complaint. They can,
especially where, as here, the relief sought is prospective only. It makes no sense to
require the States in such a case to ﬁle a new lawsuit (which the district court said

they can, ROA.11541) where the injury claimed in the complaint is happening right
now.

    C. The States are entitled to special solicitude.
   The States’ standing should be especially apparent because they are “not normal
litigants for the purposes of invoking federal jurisdiction” and are entitled to

“special solicitude.” DACA, 50 F.4th at 514 (citing Massachusetts, 549 U.S. at 518,
520). A State thus will establish standing “if there is some possibility that the
requested relief will prompt the injury-causing party to reconsider the decision that
allegedly harmed the litigant.” Id. (quoting Massachusetts, 549 U.S. at 518). Here,

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the States have shown (1) “a procedural right to challenge the action in question”
that could, if vindicated, result in a change in the outcome, and (2) the action
“aﬀect[ed] one of the State’s quasi-sovereign interests.” Id. (citing DAPA, 809 F.3d
at 151-52).
   Texas satisﬁes the ﬁrst prong because it “asserts a procedural right under the

APA to challenge agency action,” something it can do for all its claims. Id. (citing
DAPA, 809 F.3d at 152); see also MPP, 20 F.4th at 970 n.10 (same for substantive
claims). “Congress intended for those ‘suﬀering legal wrong because of agency
action’ to have judicial recourse, and the states fall well within that deﬁnition.” MPP,
20 F.4th at 970 (quoting DAPA, 809 F.3d at 152). In fact, had DHS let the States ﬁle
comments—a right Congress expressly provided in the APA—they could have
explained the ﬂaws in the Program that are causing signiﬁcant real-world harm to
the States. Loss of a “procedural right” is plainly injury.
   Put differently, no one would say that private hospitals lack standing to raise an

APA claim challenging an agency’s decision to increase reimbursement rates if the
hospitals were not allowed to file comments explaining why they are entitled to an
even more favorable reimbursement rate. That is because for procedural injuries,

“a plaintiff ‘need show only that compliance with the procedural requirements could
have better protected its concrete interests.’” New Mexico v. Dep’t of Interior, 854
F.3d 1207, 1215 (10th Cir. 2017) (citation omitted). Given special solicitude, that

principle applies a fortiori to the States. Id. at 1219. Even if the Program benefits the
States on net (and it does not), the States’ inability to submit comments explaining



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how the Program could be even more “beneficial” to them on net by, for example,
including plans for removal post-parole is itself a cognizable injury.
   The States also satisfy the second element because the CHNV Program injures
their quasi-sovereign interests. “A quasi-sovereign interest is ‘a judicial construct
that does not lend itself to a simple or exact deﬁnition.’” DACA, 50 F.4th at 514

(quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 601
(1982)). “‘One helpful indication’ of a quasi-sovereign interest,” however, “is
‘whether the injury is one that the State, if it could, would likely attempt to address
through its sovereign lawmaking powers.’” Id. at 515 (quoting Massachusetts, 549
U.S. at 519). Additionally, “[a]n agency action may aﬀect a quasi-sovereign interest
if it is alleged to damage certain ‘sovereign prerogatives [that] are now lodged in the
Federal Government.’” Id. (quoting Massachusetts, 549 U.S. at 519). A State also has
a quasi-sovereign interest in the “‘health, comfort, and welfare’ of its citizens.”
Kentucky v. Biden, 23 F.4th 585, 598 (6th Cir. 2022) (quoting Pennsylvania v. West

Virginia, 262 U.S. 553, 592 (1923)).
   In DACA, this Court concluded that the “interest in classifying aliens was
analogous to the interest in regulating emissions that the Supreme Court deemed a

quasi-sovereign interest in Massachusetts v. EPA.” 50 F.4th at 515. And because the
States “surrendered some of their sovereign prerogatives over immigration” upon
entering the Union, including to “establish their own classiﬁcations of aliens,” they

rely on the federal government to protect their interests. Id. Therefore, “DACA
implicate[d] Texas’s quasi-sovereign interest in classifying aliens.” Id. The Court



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also “recognized that a State’s inability to legislate around DACA can create a quasi-
sovereign interest.” Id. (following DAPA, 809 F.3d at 153).
   The CHNV Program implicates quasi-sovereign interests just as the DACA
Memorandum did. Not only must Texas pay millions to provide services to CHNV
nationals, but if the States sought to change the classiﬁcations of parole recipients

to alleviate their injuries, they would be threatened with federal preemption. The
Court acknowledged these issues in DACA, concluding that “DACA implicates
preemption concerns” because it classiﬁes aliens and their status, which is a power
only the federal government can exercise. Id. at 516. Just so here. “An attempt by
Texas to establish an alternative classiﬁcation system or work authorizations would
be preempted, despite the State’s likely interest in doing so.” Id. Furthermore, the
States have an important interest in the “‘economic well-being’” of their
“citizens,” Kentucky, 23 F.4th at 598, who are obviously injured by the inﬂux of tens
of thousands of competing workers.

   The district court observed that Texas asserted that it was entitled to special
solicitude but dismissed such solicitude because “as to injury-in-fact, Texas’s basis
for standing is dollar damages.” ROA.11531; ROA.12600. That observation fails

because Texas is suﬀering signiﬁcant monetary injury. See supra pp. 8-9. It also
misses the point: The costs proved below were the same type of injury to Texas’s
rights that led this Court to aﬀord Texas special solicitude in DAPA and DACA and

ﬁnd standing. See DACA, 50 F.4th at 514 (citing DAPA, 809 F.3d at 152). Although
special solicitude is relevant to redressability, whether an injury is redressable is
necessarily tied to the nature of injury. Yet the district court’s analysis eﬀectively

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conﬂates standing and redressability; the district court considered the total numbers
of migrants to determine if the States suﬀered an injury without considering if that
(supposed) drop in migrant ﬂow could have been even larger had DHS created a
better version of the CHNV Program. For example, had DHS honored the States’
APA procedural rights, the States would have been able to explain why this Program

is unlawful and what DHS could do to cause fewer harms, including that DHS “did
not explain or analyze how they would remove CHNV nationals paroled through the
Program after the authorized parole period ….” ROA.11521. That type of an injury
is what this Court allowed Texas to vindicate in DACA and DAPA.
   In short, the district court’s analysis dresses up a traceability and redressability
question in injury clothing. See GLO, 71 F.4th at 273 (analyzing whether illegal
immigration will decrease as a question of traceability, not injury). The court did not
deny that Texas is incurring costs for CHNV parolees but reasoned that the costs
on net would be there regardless. That is tantamount to saying that Texas cannot

show that its undisputed pocketbook injuries come from the Program rather than
illegal immigration generally. Nor is this error semantic: Texas has a lighter burden
on traceability and redressability due to special solicitude.

    D. Texas has met the remaining standing requirements.
   Finally, to be complete, although the district court did not reach these issues,
Texas has also satisﬁed the remaining standing requirements—even without special
solicitude and especially with it.
   First Texas’s injury is fairly traceable to the CHNV Program. This connection

need not be direct. For example, New York could establish standing based on its

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claim that a likelihood of aliens refusing to respond to census takers might result in
diminished federal funding from Congress. See Dep’t. of Com., 588 U.S. at 768.
   The district court’s ﬁndings demonstrate why Texas’s injuries are traceable to
the challenged action. As the district court recognized, Texas has been spending
money and will spend more money to serve unlawfully paroled CHNV nationals.

See supra pp. 8-9. For example, a Texas witness testiﬁed any increase in parolees will
result in Texas incurring healthcare costs. ROA.12838. It is “obvious[] that if the
total number of in-State aliens [via parole] increases, the States will spend more on
healthcare.” MPP, 20 F.4th at 969; accord DAPA, 809 F.3d at 161.
   Second, “[w]hen establishing redressability, a plaintiﬀ need only show that a
favorable ruling could potentially lessen its injury; it need not deﬁnitively
demonstrate that a victory would completely remedy the harm.” Sanchez v. R.G.L.,
761 F.3d 495, 506 (5th Cir. 2014) (cleaned up). Texas easily clears that hurdle. As in
prior cases where DHS has adopted improper immigration policies, an order

vacating the Program will excuse Texas from providing public services to those
individuals. See DAPA, 809 F.3d at 161; accord MPP, 20 F.4th at 997.
                                      *    *   *

   The district court missed the forest for the trees. The States pleaded and proved
a future injury, yet the district court ﬁrst engaged in an accounting exercise and then
compounded that error by looking at the wrong time window. Not only does such

analysis ignore that injunctive relief is inherently prospective, but it also rests on a
theory that eﬀectively bakes in DHS’s failure to enforce the law elsewhere and



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conﬂates correlation (of seasonal migration patterns) with causation (of the
Program’s purported eﬃcacy). None of this is proper.

II. Appellees’ other jurisdictional arguments are equally meritless.
    The district court dismissed this case for one reason: lack of standing. It did not

address other justiciability arguments. Accordingly, the Court—as a court of review,
not ﬁrst view—should simply reverse that erroneous standing decision and remand
for further proceedings. See, e.g., Apter v. Dep’t of Health & Hum. Servs., 80 F.4th

579, 595 (5th Cir. 2023) (remanding justiciability issues). Nonetheless, because
Appellees may ask this Court to resolve their other jurisdictional objections in the
ﬁrst instance, the States address them here out of an abundance of caution.

    A. Congress has not precluded judicial review.
   Appellees argued in the district court that Congress precluded judicial review of
the Program in the INA (8 U.S.C. §1252(a)(2)(B)(ii)) and APA (5 U.S.C.
§701(a)(2)). Both arguments suﬀer from the same fatal ﬂaw: Those statutes cover
individual enforcement decisions—not rules or programs.

        1.   There is a strong presumption of judicial review.
   The APA “establishes a basic presumption of judicial review [for] one ‘suﬀering
legal wrong because of agency action.’” Regents, 591 U.S. at 16-17 (quoting Abbott
Laboratories v. Gardner, 387 U.S. 136, 140 (1967)). “That presumption can be

rebutted by a showing that the relevant statute precludes review, or that the agency
action is committed to agency discretion by law.” Id. at 17 (cleaned up).
“Establishing unreviewability is a heavy burden, and where substantial doubt about



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the congressional intent exists, the general presumption favoring judicial review of
administrative action is controlling.” Id. (quotation omitted).

         2. Nothing in the text of the INA overcomes that presumption.
    The INA does not overcome this presumption. It provides that “no court shall
have jurisdiction to review … any other decision” of DHS “the authority for which
is specified under this subchapter to be in the discretion of” DHS. 8 U.S.C.
§1252(a)(2)(B)(ii). As relevant here, DHS “may … in [its] discretion parole into
the United States temporarily under such conditions as [it] may prescribe only on a

case-by-case basis for urgent humanitarian reasons or significant public benefit any
alien applying for admission to the United States.” Id. §1182(d)(5)(A).
    a. DHS contends that the CHNV Program is nothing more than a discretion-
ary use of the parole power—and thus is immune from review. The Court rejected
this argument in MPP, reasoning that “the entirety of the text and structure of
§ 1252 indicates that it operates only on denials of relief for individual aliens.” 20
F.4th at 977. Nothing in that text or structure, the Court explained, supports that
“an entire program—operating across an international border and affecting thou-
sands or millions of people and dollars—is rendered unreviewable by

§ 1252(a)(2)(B)(ii).” Id. “The Government’s reading of it would bury an awfully
large elephant in a really small mousehole.” Id. Because the Supreme Court has
never disturbed that holding, it applies with full force here. See, e.g., Data Mktg., 45

F.4th at 856 n.2; Central Pines, 274 F.3d at 893.
    Nor is the analysis in Patel v. Garland, 596 U.S. 328 (2022), to the contrary. Not
only does Patel not “unequivocally overrule” MPP, Martinelli v. Hearst Newspapers,

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L.L.C., 65 F.4th 231, 234 (5th Cir. 2023), but it supports this Court’s analysis. The
question in Patel was whether Congress precluded courts from reviewing factual
findings under §1252(a)(2)(B)(i); the answer to which turned on the meaning of the
word “judgment.” Patel, 596 U.S. at 336-37. The Supreme Court looked to
§1252(a)(2)(B)(i), which precludes review of discretionary judgements, and

§1252(a)(2)(D), which permits review of legal and constitutional challenges. Id. at
338-39. To give both provisions meaning, the Court concluded that facts would fall
in the discretionary component of a judgment that courts cannot reach. Id. Nothing
in that analysis suggests that DHS can disregard 8 U.S.C. §1182(d)(5)’s “case-by-
case” requirement.” Rather, Patel was discussing decisions “made discretionary by
legislation”—not challenges to programmatic immigration policy. 596 U.S. at 333-
34 (quoting Kucana v. Holder, 558 U.S. 233, 246-47 (2010)). Furthermore, the fact
that the Court was focused on a single discrete regulatory action rather than a pro-
gram-wide decision demonstrates the proper scope of §1252(a)(2)(B)(ii).

    Additionally, the Supreme Court has explained that DHS’s parole authority “is
not unbounded: DHS may exercise its discretion to parole applicants ‘only on a
case-by-case basis for urgent humanitarian reasons or significant public benefit.’

And under the APA, DHS’s exercise of discretion within that statutory framework
must be reasonable and reasonably explained.” Biden, 597 U.S. at 806-07 (quoting
8 U.S.C. §1182(d)(5)(A)). The Supreme Court would not have said that DHS’s pa-

role must comport with the APA if there were no review under the APA whatever
DHS does.



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    b. Even if the panel were writing from a blank slate, this Court’s holding in
MPP that §1252 precludes judicial review of individual, not categorical, relief is
plainly correct. “When confronted with a list of specific terms that ends with a
catchall phrase” a court should “limit the catchall phrase to ‘things of the same
general kind or class specifically mentioned.’” United States v. Clark, 990 F.3d 404,

408 (5th Cir. 2021) (quoting Antonin Scalia & Bryan Garner, Reading Law: The In-
terpretation of Legal Texts 199 (2012)); see also RSBCO v. United States, No. 23-
30062, ---F.4th----, 2024 WL 2966083, at *4 (5th Cir. June 13, 2024) (same).
    Applying this principle, §1252(a)(2)(B)(ii)’s catch-all provision is limited to
specific, individualized relief. Section 1252(a)(2)(B) precludes judicial review in
two scenarios, namely, of: “(i) any judgment regarding the granting of relief under
section 1182(h), 1182(i), 1229b, 1229c, or 1255” or “(ii) any other decision or action
… the authority for which is specified … to be in the discretion of the Attorney
General or the Secretary of Homeland Security ….” And the relief afforded by the

specific statutes identified in §1252(a)(2)(B)(i) are individual in nature. For exam-
ple, 8 U.S.C. §1182(i) allows waiver of inadmissibility “in the case of an immigrant”
if the Attorney General is satisfied “that the refusal of admission … of such immi-

grant alien would result in extreme hardship to the citizen or lawfully resident
spouse or parent of such an alien….” (emphases added)). The other provisions cited
by §1252(a)(2)(B) are similar in nature. 5


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     See also 8 U.S.C. §1182(h) (waive an individual’s inadmissibility resulting
from marijuana possession); id. §1229b (cancel removal for certain inadmissible or
deportable aliens); id. §1229c (voluntary departure); §1255 (adjustment of status).

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    Section 1252 is also titled “Judicial review of orders of removal,” indicating it
addresses review of individual immigration processes—the only agency actions that
end in orders of removal. See, e.g., Yates v. United States, 574 U.S. 528, 539-40
(2015) (relying on heading). Given that limited scope, it makes no sense to read the
statute as allowing DHS to create an unlawful “supplement to Congressionally-es-

tablished immigration policy.” H.R. Rep. No. 104-469, at 140.
    Regardless, §1252(a)(2)(B)(ii) prevents aliens from challenging DHS’s refusal
to grant discretionary relief “as a matter of grace.” Kucana, 558 U.S. at 247-48. It
thus does not apply when a plaintiff “challenge[s] the extent of the [official’s] au-
thority” itself because “authority is not a matter of discretion.” Zadvydas v. Davis,
533 U.S. 678, 688 (2001). Here, Congress specifically limited DHS’s parole author-
ity to individual cases; DHS has no discretion to disregard that clear limit. As the
Court has held, agencies do not have even “colorable authority” to disregard limits
set by Congress on their authority. Apter, 80 F.4th at 589.

    Other courts, unsurprisingly, have thus also rejected DHS’s argument that
§1252(a)(2)(B)(ii) bars review of programmatic challenges of the sort the States as-
sert here. See, e.g., Roe v. Mayorkas, No. 22-CV-10808-ADB, 2023 WL 3466327, at

*8-9 (D. Mass. May 12, 2023) (explaining that “§1252(a)(2)(B)(ii) does not bar all
judicial review of agency action taken under §1182(d)(5)(A)” and collecting similar
holdings). These decisions are consistent with the Supreme Court’s approach read-

ing §1252 narrowly because “[i]f Congress wanted the jurisdictional bar to encom-
pass decisions” beyond those specified, “Congress could easily have said so.” Ku-
cana, 558 U.S. at 248.

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    Here, the States challenge the CHNV Program under the APA, not the
“[d]enial[] of discretionary relief” in          an   individual case.     8   U.S.C.
§1252(a)(2)(B)(ii). Because Congress did not see fit to say otherwise, the presump-
tion of judicial review of administrative action controls.

        3. Nor does the APA bar review.
   The APA disallows judicial review of “agency action ... committed to agency
discretion by law.” 5 U.S.C. §701(a)(2). Yet as this Court has held, that provision is
narrow. See, e.g., MPP, 20 F.4th at 978; DAPA, 809 F.3d at 163. For example, courts

generally cannot review an agency’s decision not to institute enforcement
proceedings or statutes drawn so broadly that “there is no law to apply.” DAPA, 809
F.3d at 163. But this is not about mere non-enforcement—the CHNV Program
provides a legal right to be in the United States and work. Supra p. 6. Neither is this
a situation where “there is no law to apply”: Congress set forth speciﬁc criteria for
parole eligibility and a speciﬁc process for determining whether those criteria are
met. See 8 U.S.C. §1182(d)(5). That alone should end the inquiry.
   Furthermore, the CHNV Program is plainly a “rule” under the APA—that is,
“an agency statement of general … applicability and future eﬀect” that either
“prescribe[s] law or policy” or “describ[es] … [agency] organization, procedure, or
practice requirements.” 5 U.S.C. §551(4). This matters because the Court has held
that Heckler v. Chaney, 470 U.S. 821 (1985)—the landmark case addressing whether

actions are “committed to agency discretion by law”—“does not apply to agency
rules.” MPP, 20 F.4th at 978. Instead, courts “apply Heckler, if at all, to one-oﬀ
agency enforcement decisions rather than to agency rulemakings.” Id. at 984. Such

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one-oﬀ enforcement decisions would include, for example, a particular decision to
grant or deny parole to a speciﬁc CHNV national. Although Intervenors oﬀered
evidence regarding an individual parolee, supra p. 23, the States here do not
challenge any such decision in this lawsuit.
   Heckler also does not apply to actions purporting to “trigger … eligibility for

federal beneﬁts … and state beneﬁts … that would not otherwise be available to
illegal aliens.” DAPA, 809 F.3d at 166. Such decisions are reviewable under the APA.
See id. at 167 (quoting Heckler, 470 U.S. at 832). Under Texas law, §1182(d)(5) parole
satisﬁes the State’s “lawful presence” requirement—which is a prerequisite to
obtaining a driver’s license. Id. at 155. Thus, the Program functions to “remov[e] a
categorical bar on receipt of [public] beneﬁts and thereby mak[e] a class of persons
newly eligible for them.” Id. at 167. The removal of that bar “provides a focus for
judicial review.” Heckler, 470 U.S. at 832; accord DAPA, 809 F.3d at 167.
   Finally, even if Heckler’s presumption against review applied, “the presumption

[is] rebutted” because “the substantive statute has provided guidelines for the
agency to follow in exercising its enforcement powers.” Heckler, 470 U.S. at 832-33.
Parole authority “is not unbounded.” Biden, 597 U.S. at 806-07. It requires a case-

by-case determination and “DHS’s exercise of discretion within that statutory
framework must be reasonable and reasonably explained.” Id. (citing Motor Vehicle
Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983), an APA

case). Because neither the INA nor the APA displace the presumption of
reviewability, jurisdiction exists here.



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    B. The CHNV Program is final agency action.
    Appellees have also argued that the CHNV Program is not ﬁnal agency action.
The Program, however, meets each of the two elements of ﬁnality from Bennett v.
Spear, 520 U.S. 154 (1997), and United States Army Corps of Engineers v. Hawkes Co.,
578 U.S. 590 (2016)). First, the Program marks the “consummation the agency’s
decisionmaking process.” Bennett, 520 U.S. at 177-78 (quotation omitted). DHS has
reached a ﬁnal determination of the parole criteria and process for applicants from

the four CHNV countries. Second, as the district court found, the CHNV Program
set forth the requirements to apply via a website and through publication of its
notices, resulting in a ﬁnal determination that this pathway is now available to any
CHNV national. ROA.11519-11522. These are hallmarks of ﬁnal, substantive agency
action. See, e.g., Texas v. Becerra, 89 F.4th 529, 538 (5th Cir. 2024).
   DHS did not meaningfully disagree with that analysis. Instead, it argued that the
Program is not ﬁnal agency action because individual foreign nationals still must
apply. ROA.11370-11373. This conﬂates two diﬀerent ﬁnal agency actions: the
creation of standards through rulemaking and their application through
adjudication. See, e.g., Texas v. EEOC, 933 F.3d 433, 441 (5th Cir. 2019) (explaining
that “‘a substantive rule’—which is, by deﬁnition, a ﬁnal agency action” exists when
“an agency intends to bind itself to a particular legal position”) (citation omitted).

As to the rulemaking here, the ﬁnality inquiry is “whether the action ‘result[ed] in a
ﬁnal determination of “rights or obligations,”’”—not whether implementation of
that determination has occurred. Biden, 597 U.S.at 809 n.7 (alterations in original)

(citation omitted).


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   The nominal existence of discretion does not alter the outcome. Here, agency
personnel are not free to exercise discretion in any real sense, as demonstrated by
approval rates of nearly 100%. ROA.11514 (DHS adjudicated 194,683 cases between
October 2022 and June 2023, approving 189,942—an approval rate of 97.6%). 6
Because the “rule has binding eﬀect on agency discretion,” DHS cannot ignore the

Program’s requirements or beneﬁts, and the Program constitutes a ﬁnal agency
action, DAPA, 809 F.3d at 171—namely a substantive rule that can and will be
applied in other agency actions, see also DACA, 50 F.4th at 521-24. Regardless, even
if there were some discretion in individual cases, an agency’s programmatic decision
does not cease to be ﬁnal agency action merely because that decision must later be
applied in individual cases. See, e.g., EEOC, 933 F.3d at 441.

    C. Texas is within the relevant zone of interests.
    Finally, DHS also argued below that Texas does not fall within the zone of
interests of the INA. ROA.11368. Again, not so. This is not an “especially
demanding,” test and it “forecloses suit only when a plaintiff’s ‘interests are so
marginally related to or inconsistent with the purposes implicit in the statute that it
cannot reasonably be assumed that’ Congress authorized the plaintiff to sue.”
Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 130 (2014)


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       A more granular look at the data demonstrates this point even more clearly.
For each of the countries, the rate was at least 96.6%, and for both Haiti and Cuba,
it was 98.3%. ROA.11523. The likelihood that two countries would have exactly the
same approval rate by pure chance—across tens of thousands of applications—is
nanoscopic. Cf. Students for Fair Admissions, Inc. v. President & Fellows of Harvard
Coll., 600 U.S. 181, 222 (2023) (“Harvard’s focus on numbers is obvious.”).

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(citation omitted). Importantly, this lenient test focuses on whether Texas falls
within the zone of interests of the INA as a whole, not the particular provision used
to create the program. MPP, 20 F.4th at 975-76; see DAPA, 809 F.3d at 163.
    This Court has already repeatedly held that States fall within the INA’s zone of
interests. As the Court put it in DAPA, “the pervasiveness of federal regulation

does not diminish the importance of immigration policy to the States, which bear
many of the consequences of unlawful immigration.” 809 F.3d at 163 (quotation
omitted; cleaned up). “Reflecting a concern that aliens have been applying for and
receiving public benefits from Federal, State, and local governments at increasing
rates, Congress deemed some unlawfully present aliens ineligible for certain state
and local public benefits unless the state explicitly provides otherwise.” Id. (cleaned
up). “With limited exceptions, unlawfully present aliens are ‘not eligible for any
State or local public benefit.’” Id. (quoting 8 U.S.C. §1621(a)). Just as Texas fell
within the zone of interests of the INA in DAPA, so it does here where the district

court has found that Texas will expend at least some health care and education costs
on CHNV nationals who enter the United States via the program.




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                               Conclusion
    The judgment of the district court should be reversed, and the case should be
remanded for further proceedings.

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    On June 26, 2024, this brief was served via CM/ECF on all registered counsel
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of the brief exempted by Rule 32(f); and (2) the typeface requirements of Rule
32(a)(5) and the type style requirements of Rule 32(a)(6) because it has been pre-
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